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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. : Criminal No. 22-CR-392 (DLF)

ABU AGILA MOHAMMAD
MAS’UD KHEIR AL-MARIMI,

Defendant.

THIRD CIPA § 4 ORDER

UNCLASSIFIED ORDER APPROVING DELETION OF CLASSIFIED
INFORMATION FROM DISCOVERY AND APPROVING SUMMARY OF
CLASSIFIED INFORMATION, ALL PURSUANT TO CIPA § 4 AND FEDERAL RULE
OF CRIMINAL PROCEDURE 16(d)(1)

This matter has come before the Court on the Government’s Third Classified In Camera,
Ex Parte Motion for an Order Pursuant to § 4 of the Classified Information Procedures Act (CIPA),
and Rule 16(d)(1) of the Federal Rules of Criminal Procedure, filed December 20, 2024 (Third
CIPA Motion). Having reviewed the government’s Third CIPA Motion and attachments and the
relevant law, and being fully advised in the premises, the Court concludes that good cause exists
for granting the motion of the United States. After ex parte, in camera inspection and consideration
of the government’s motion and attachments, the Court concludes that:

1. On December 20, 2024, the United States of America, by and through its attorney,
the United States Attorney for the District of Columbia, filed its Third CIPA motion ex parte, in
camera and under seal, pursuant to § 4 of CIPA 18 U.S.C. App. 3, and Fed. R. Crim. P. 16(d)(1).

The Third CIPA Motion addresses certain classified materials (collectively, “the Classified

Information’).
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2. In the Third CIPA Motion, the government seeks authorization, pursuant to 18
U.S.C. App. 3 § 4 and Fed. R. Crim. P. 16(d)(1), to “delete” from discovery certain Classified
information (the “Classified Information for Deletion’). The Classified Information for Deletion
is not relevant and helpful to the defense, and the unauthorized disclosure of this information at
this time reasonably could be expected to cause serious damage to the national security. In this
motion, the government also seeks authorization to provide four unclassified summary
substitutions of a subset of the Classified Information (the “Classified Information for
Substitution”) that the government has determined is at least arguably relevant and helpful to the
defense. Finally, in this motion the government seeks authorization to provide, in unclassified
form, nine redacted documents (seven of which also contain annotations) (the “Unclassified
Redacted Substitutes”) in place of the corresponding original classified documents (the “Classified
Unredacted Originals”) from among the Classified Information, thereby deleting certain portions
that are not relevant and helpful to the defense.

3. Through one or more declarations of a United States Government official that the
government submitted with the Third CIPA Motion, the government has properly invoked its
classified information and national security privilege with respect to the Classified Information.

4, The Third CIPA Motion was properly filed ex parte, in camera, for this Court’s
review, pursuant to CIPA § 4 and Fed. R. Crim. P. 16(d)(1). The Court has conducted an ex parte,
in camera, review of the classified Third CIPA Motion, declaration, and attachments.

5. The disclosure of the Classified Information at this time reasonably could be

expected to cause serious, and in some cases, exceptionally grave damage to the national security

of the United States.
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6. The “relevant and helpful” standard applied to CIPA § 4 by United States v. Yunis,
867 F.2d 617 (D.C. Cir. 1989) (and originally articulated in United States v. Roviaro, 353 U.S. 53
(1975)), is the appropriate standard by which to analyze the discoverability of classified
information where, as here, the government has properly invoked the national security and
classified information privilege. To this end, the Court finds that in applying the Yunis/Roviaro

standard, none of the Classified Information for Deletion is “relevant and helpful” to the defense.

_ This order also applies to each of the government’s discovery obligations under.Federal Rule of

Criminal Procedure 16, and Brady v. Maryland, Giglio v. United States, and their progeny.

7. The Court finds that the government’s proposed summary of the Classified
Information for Substitution adequately protects the Defendant’ s interests and may be provided to
the defense in lieu of the underlying classified documents. See United States v. Rezaq, 134 F.3d
1121, 1142-43 (D.C. Cir. 1998) (approving district court’s CIPA substitution rulings where “[nJjo
information was omitted from the substitutions that might have been helpful to Rezaq’s defense’);
United States v. Dumeisi, 424 F.3d 566, 578 (7th Cir. 2005) (approving substitution of unclassified
summary in place of classified information); United States v. Rahman, 870 F.Supp. 47, 53
(S.D.N.Y. 1994) (“I]t is sufficient to disclose the substance of the information [in the CIA’s
possession] . ... The document itself need not be disclosed.”).

8. The Court lastly finds that the Unclassified Redacted Substitutes constitute

satisfactory replacements for the Classified Unredacted Originals. Because none of the redacted

portions of these documents are “relevant and helpful” to the defense under the Yunis/Roviaro

standard, those portions are properly deleted from the documents in the form the government

proposes to disclose them to the defense.
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Accordingly, pursuant to § 4 of the Classified Information Procedures Act, 18 U.S.C. App.
3, and Fed. R. Crim. P. 16(d)(1), IT IS HEREBY ORDERED that:
1. The Third CIPA Motion is hereby GRANTED.

2. The Classified Information for Deletion shall be deleted from discovery and shall

not be disclosed to the defendant, his counsel, or the public.

3. The unclassified summaries of the Classified Information for Substitution may be

provided to the defense in lieu of the underlying classified documents.

4. The Unclassified Redacted Substitutes may be provided to the defense in lieu of

the corresponding Classified Unredacted Originals.

5 The Third CIPA Motion and attachments are hereby SEALED and shall be retained

in accordance with established security procedures until further order of this Court.

SO ORDERED this day of ued LOUK

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UNITED STATES DISTRICT JUDGE
